          Case 18-20971-CMB     Doc 225    Filed 12/18/20 MEMO
                                           PROCEEDING      Entered 12/18/20 07:23:15   Desc Main
                                          Document     Page 1 of 1

Date: 12/17/2020 02:30 pm
 In re:   Linda C. Parker


                                                     Bankruptcy No. 18-20971-CMB
                                                     Chapter: 11 (Not a Small Business)
                                                     Doc. # 205

Appearances Via ZOOM: Maria Miksich, Esq.
                      Jill Locnikar, Esq.
                      David Valencik, Esq.


Nature of Proceeding: #205 ZOOM HEARING - Rescheduled Hearing Re: Motion For
                       Relief From The Automatic Stay re Creditor: PNC Bank,
                       National Association Re: 626 James Drive, Belle Vernon, PA 15012


Additional Pleadings:       #208 Debtor's Response
                            #222 Proceeding Memo dated 10/29/2020



Judge's Notes:
 Valencik:ChecksentforDecemberpaymentforPNCandshouldbecurrent.
 Miksich:Canwithdrawmotionnowbasedonpayments.
 OUTCOME:Motionwithdrawnwithoutprejudice.


                                                     Carlota Böhm
                                                     Chief U.S. Bankruptcy Judge


                  FILED
                  12/17/20 4:35 pm
                  CLERK
                  U.S. BANKRUPTCY
                  COURT - :'3$
